                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                )
                    Plaintiff,           )
                                         )
             v.                          )      No. 4:12-cr-00185-FJG-2
                                         )
FREDERICK L. HARROLD,                    )
                    Defendant.           )


                         ACCEPTANCE OF PLEA OF GUILTY
                           AND ADJUDICATION OF GUILT

      Pursuant to the Report and Recommendation of United States Magistrate Judge

John T. Maughmer (Doc. #255 filed on March 25, 2015), to which no objection has been

filed, the plea of guilty to Counts 1 and 42 of the Superseding Indictment which was filed

on December 13, 2012, is now accepted.           Defendant is adjudged guilty of such

offense(s). Sentencing will be set by subsequent order of the court.




                                                 /s/ Fernando J. Gaitan, Jr.
                                                Fernando J. Gaitan, Jr.
                                                United States District Judge

Dated: April 20, 2015
Kansas City, Missouri




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